Case 3:13-cv-01889-GPC-WVG Document 35 Filed 01/16/15 PageID.419 Page 1 of 1



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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10   BRADRICK LANDRY, on behalf of                  CASE NO. 13cv1889-GPC(WVG)
      himself and all others similarly
 11   situated,                                      ORDER GRANTING JOINT
                                                     MOTION TO DISMISS WITH
 12                                   Plaintiff,     PREJUDICE
             vs.
 13                                                  [Dkt. No. 34.]
 14   WINDHAM PROFESSIONALS,
      INC.,
 15
                                   Defendant.
 16
 17         The Court has reviewed the Joint Motion of Plaintiff BRADERICK LANDRY
 18 and Defendant WINDHAM PROFESSIONALS, INC. Good cause appearing, the
 19 Court grants the parties' Joint Motion to Dismiss the entire action. As stipulated by the
 20 parties, the action is dismissed with prejudice as to Plaintiff BRADERICK LANDRY,
 21 and dismissed without prejudice as to the putative class members, pursuant to FRCP
 22 41(a)(1)(A(ii), with each party to bear their respective attorneys' fees and costs.
 23       IT IS SO ORDERED.
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 25 DATED: January 16, 2015
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 27                                            HON. GONZALO P. CURIEL
                                               United States District Judge
 28

                                                   -1-                        [13cv1889-GPC(WVG)]
